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 8
                                                                                  !
                          IN THE UNITED STATES DISTRICT COURT
 9                                              !
                         FOR THE NORTHisN DISTRICT OF CALIFORNIA
10     !
11     !
     UNITED STATES OF AMERICA,                  ) NO. CR 21-0046-SI
12                                              )
                                     Plaintiff, )SENTENCING MEMORANDUM
13
                                                )
14     vs.                                      )
                                                )
15   Bret Holiday                               )Date: March 26, 2021
16                                              )Time: 1:30 p.m.
                                     Defendant. )Courtroom: THE HONORABLE
17                                              )JUDGE ILLSTON
                                                )
18
       !
19                                    I. INTRODUCTION

20           Mr.     Holiday is pending sentencing after his February 26,
21
     2021 guilty plea to the one count Information charging him with
22
     aiding and abetting the distribution of fentanyl, in violation of
23
24   21 U.S.C. §§ 841(a)(1) and (b)(1)(C) and 18 U.S.C. §2(a).

25           For the reasons below, the Court should sentence Mr. Holiday
26
     to time served and no more than one year of supervised release
27
     (SR).
28
29                                    II. DISCUSSION


                                               !1
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     A. Mr. Holiday Cannot be Considered a Career Offender
 1
 2         The Court should not be influenced by the suggestion in the

 3   pre-sentence (PSR) that Mr. Holiday “may … be a career offender.”
 4
     PSR para. 25. U.S.S.G. §4B1.1 provides that a career offender
 5
     categorization would bump Mr. Holiday’s offense level to 32. There
 6
 7   is a plea agreement in this case. In it, the government agreed

 8   that Mr. Holiday’s adjusted offense level is 8. Thus, the PSR’s
 9
     suggestion would destroy the intent of the parties in how to
10
     settle this case. In any event, the PSR’s suggestion is wrong.
11
12         Mr. Holiday has four prior felony convictions for violations

13   of Ca. H&S §11351. PSR para.s 17, 19, 20 and 21.1 However, these
14
     can only be considered felony drug priors for career offender
15
     purposes under the modified categorical approach, because state
16
17   law provisions under H&S §11351 cover a broader range of drugs

18   than does the federal Controlled Substances Act.
19
           In United States v. Leal-Vega (9th Cir. 2012) 680 F.3d 1160,
20
     1167, the Ninth Circuit considered whether a defendant's prior
21
22   conviction under §11351 was a "drug trafficking offense" for the

23   purposes of the guideline governing sentences in illegal reentry
24
     cases. The court held that it was not, unless found to be so under
25
     the modified categorical analysis. Id. The circuit's holding in
26
27   Leal-Vega is relevant here because case law regarding U.S.S.G.
28   1 Mr. Holiday also has a 2009 felony drug conviction (para. 14),
29   but it is timed out per Guideline §4A1.2. See §4B1.2 Commentary N.
     3.
                                          !2
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     §2L1.2,   for     illegal    re-entry,     has     been   applied     to   the    career
 1
 2   offender guideline: §4B1.1. See, e.g., United States v. Charles

 3   (9th Cir. 2009) 581 F.3d 927, 934.
 4
          The     modified       categorical      approach     requires     some      limited
 5
     court documentation (such as the plea colloquy) to show that the
 6
 7   factual basis for the conviction qualified it as a drug felony

 8   conviction under the Controlled Substances Act. See Descamps v.
 9
     United States (2013) 570 U.S. 254, 260-261; Medina-Lara v. Holder
10
     (9th Cir. 2014) 770 F.3d 1106, 1113. Here, the PSR notes the
11
12   statute     of    conviction       (H&S    §11351)      but    nothing     about    the

13   particular       drugs   involved    other       than   the    arresting    officers’
14
     suspicions.      Pursuant    to    the    above    authority,       underlying     court
15
     documents are needed for the proper evaluation of whether these
16
17   convictions qualify for career offender purposes.

18        In Medina-Lara v. Holder, supra, the Ninth Circuit held that
19
     “the government bears the burden of proof to show by ‘clear and
20
     convincing evidence’ that the § 11351 conviction is a predicate
21
22   offense.”    Medina-Lara      v.    Holder,       770   F.3d   at   1113   (citations

23   omitted). Here, the government already stipulated to an offense
24
     level that precludes a career offender finding. Thus, there is
25
     insufficient evidence presented for the Court to find Mr. Holiday
26
27   to be a career offender.
28   !
29
     !
                                                 !3
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     B. Mr. Holiday Does Not have the Ability to Pay a Fine
 1
 2        Page 16 of the PSR states that Mr. Holiday’s “ability to pay

 3   a fine is unknown.” To the contrary, it is known. He’s homeless.
 4
     Undersigned counsel is appointed.
 5
     C. 18 U.S.C. Sec. 3553(a) factors
 6
 7        1. Sufficient but not Greater than Necessary

 8        Title    18    §3553(a)    states    that      the    Court   shall   impose   a
 9
     sentence “sufficient but not greater than necessary …” to promote
10
     the factors enumerated in that section.
11
12        Section       3553(a)     also   indicates          that   the   Court   should

13   consider, among other things, the applicable Guidelines range for
14
     the offense of conviction. However, although the Court is required
15
     to consider the Guidelines calculations, those Guidelines carry no
16
17   presumption    of    reasonableness,          and    a    sentence    outside    the

18   Guidelines carries no presumption of unreasonableness. Gall v.
19
     United States (2007) 552 U.S. 38; Irizarry v. United States (2008)
20
     553 U.S. 708.       Rather, the Court should consider all of the 18
21
22   U.S.C. §3553(a) factors along with the Guidelines in deciding on

23   the appropriate sentence, and that sentence should not be greater
24
     than necessary to promote the §3553(a) factors.
25
          2. The Need to Avoid Unwarranted Sentence Disparities
26
27        The factor in §3553(a)(6) is “the need to avoid unwarranted
28   sentence disparities among defendants with similar records who
29
     have been found guilty of similar conduct.” The police report in

                                              !4
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     this case reflects that Mr. Holiday was holding drugs for the
 1
 2   other person arrested with him. She was clearly in charge. That is

 3   why the government agreed that Mr. Holiday should get the minor
 4
     role   adjustment    in   the   offense     level,   reflected       in   the   plea
 5
     agreement. However, the obviously more culpable other person is
 6
 7   getting the benefit of pretrial diversion. Not only will she serve

 8   no time, she will suffer no conviction. Under these circumstances
 9
     Mr. Holiday, the less culpable participant, should not have to
10
     serve any imprisonment. Even a conviction and probation for Mr.
11
12   Holiday is arguably an unwarranted sentencing disparity.

13          Notably,     although    Mr.   Holiday       has    several    prior     drug
14
     convictions, in each of the matters discussed in PSR paragraphs
15
     18, 19 and 21, Mr. Holiday was holding the drugs for the seller.
16
17          3. The History and Characteristics of Mr. Holiday

18          Section 3553(a)(1) includes the factor of the history and
19
     characteristics     of    the   defendant.    The    PSR    has   Mr.     Holiday’s
20
     criminal history. It is nothing to be proud of, but the only
21
22   conviction of violence is a misdemeanor battery from almost 26

23   years ago. PSR para. 9.
24
            Mr. Holiday is a 47-year old homeless man. His “home” is a
25
     tent in an encampment.
26
27
28
29

                                            !5
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             It is counsel’s understanding that Mr. Holiday is 5’9” tall
 1
 2   and weighs 205 pounds.2 According to the CDC, having obesity makes

 3   a person more vulnerable to severe symptoms from the coronavirus
 4
     than the general population.                 https://www.cdc.gov/coronavirus/2019-ncov/need-extra-
 5
     precautions/people-with-medical-conditions.html#obesity.    Furthermore,       according       to
 6
 7   the CDC BMI calculator, the above dimensions place Mr. Holiday

 8   into the “obese” category.               https://www.cdc.gov/healthyweight/assessing/bmi/adult_bmi/

 9
     english_bmi_calculator/bmi_calculator.html
10
             It is no secret to this Court that incarcerated individuals
11
12   are among society’s most vulnerable to contracting the coronavirus

13   because of the inability to safely social distance while locked up
14
     in close quarters with little ventilation.
15
             4. The Kinds of Sentences Available
16
17           Section       3553(a)(3)       includes       the    factor      of   the    kinds      of

18   sentences available.
19
             As this is a Class C felony, Mr. Holiday is eligible for
20
     probation. 18 U.S.C.§3559. Title 18 U.S.C. §3561 authorizes 1 - 5
21
22   years probation. However, the Court also has the discretion to

23   sentence Mr. Holiday to time served (approximately 1-2 months), to
24
     be followed by any period of SR. Under Title 18 U.S.C. §3583(b),
25
     there appears to be no mandatory minimum for SR terms in this
26
27   case, only the maximum of three years.
28
29   2 The police report lists Mr. Holiday at 5’10” and 173 lb. We
     believe this is incorrect.
                                                      !6
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           The    Federal    Public   Defender’s    Office   has   a   database   of
 1
 2   Tenderloin cases that includes those prosecuted under the 2020

 3   Federal Initiative for Tenderloin (FIT), many of which consist of
 4
     street level drug bust cases in the Tenderloin (TL) that have been
 5
     traditionally charged in San Francisco Superior Court rather than
 6
 7   federal court.3      The FPD has solicited CJA counsel to contribute

 8   to this database. However, it is not comprehensive because it does
 9
     not purport to include all such described TL cases. Despite its
10
     acknowledged limitations, it is assumed to be accurate within its
11
12   scope because those contributing data - including the undersigned

13   - have put their names on their contributions and are officers of
14
     the court.
15
           According to the TL database, 54 FIT cases charging Title 21
16
17   U.S.C. §841(a)(1) drug crimes resulted in time served sentences.

18   Of these, 16 cases involved time served of three months or less.
19
     Five of those 16 involved defendants with criminal histories of at
20
     least IV. A category VI CH defendant in this group received a
21
22   custodial sentence of 17 days time served. Two defendants in the

23
24
25   3 Assistant Chief FPD Candis Mitchell runs the database. According
26   to Ms. Mitchell, FIT “is The federal initiative [that] has
     prioritized federal charges for criminal misconduct with a nexus
27   to the Tenderloin, including drug trafficking, firearms offenses,
28   escape, Hobbs Act robberies, false passports and visas, postal
     crimes, crimes on federal land, human trafficking, identity theft,
29   and benefits fraud.” However, data cited in this memorandum only
     includes the described drug cases.
                                             !7
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     above time served category received one year of SR. A third such
 1
 2   defendant received no SR.

 3          Thus,   the   above    illustrates            not   only   that   the   type   of
 4
     sentence    available    is   what   we        are    requesting,    but   also   that
 5
     similarly situated defendants received the same type of requested
 6
 7   sentence.

 8                                 III. CONCLUSION
 9
           Mr. Holiday is a Black middle-aged homeless man with a long
10
     but largely non-violent criminal record. He is particularly
11
12   vulnerable to the coronavirus because his height and weight

13   classify him as obese. His white, more culpable co-defendant
14
     obtained a pretrial diversion disposition. Defendants in at least
15
     54 FIT cases have received the time served sentence requested
16
17   here. Three such defendants received either one year of SR or no

18   SR.
19
           For the foregoing reasons, the Court should sentence Mr.
20
     Holiday to time served and no more than one year of supervised
21
22   release.

23                                                  Respectfully Submitted,
24         Date: March 24, 2021                     __________//s//______________
                                                    Brian P Berson
25                                                  ATTORNEY FOR BRET HOLIDAY
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29

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